                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION
UNITED STATES OF AMERICA,                 )
                                          )
                            Plaintiff,    )
                                          )
vs.                                       )       Case No. 14-00029-11-CR-W-GAF
                                          )
KENNETH HARVEY,                           )
                                          )
                            Defendant.    )


                                         ORDER


       Now pending before the Court is defendant’s Motion to Suppress All Evidence Seized

Pursuant to Traffic Stop on April 11, 2013 (Doc. #231). On December 16, 2014, and January 7,

2015, United States Magistrate Judge John T. Maughmer conducted an evidentiary hearing on

defendant’s motion.

       On February 24, 2015, Judge Maughmer issued his Report and Recommendation (Doc.

#296). On March 16, 2015, Defendant's Objections to the Report and Recommendation (Doc.

#307) were filed.

       Upon careful and independent review of the pending motion, defendant’s objections to

the Report and Recommendation, as well as the applicable law, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States

Magistrate Judge John T. Maughmer.

       Accordingly, it is hereby ORDERED that Defendant's Motion to Suppress Evidence

(Doc. #231) is OVERRULED and DENIED.

SO ORDERED.




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                                             /s Gary A. Fenner
                                             GARY A. FENNER, JUDGE
                                             United States District Court

DATED:   March 16, 2015




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